Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 1 of 13

EXhibit A

Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 2 of 13

 

“ 11a .
: Activity in Case 1:16-cv-12383-lT Hashem v. D'Angelo l\/lemorandum in Support of l\/lotion
. October 23 2018 at 10'36 AM
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United States District Court
District of Massachusetts

Notice of E|ectronic Fi|ing

The following transaction was entered by Farrah, A|bert on 10/23/2018 at 10:35 AM EDT and filed on 10/23/2018

Case Name: Hashem v. D'Ange|o
Case Number: 1";;56»1::1/-12383~§"'§;
Fi|er: Saba Hashem

Document Number: 1_@§

Docket Text:
MEMORANDUM in Support re [144] Second MOTION for Contempt and Sanctions filed by Saba Hashem.
(Farrah, Aibert)

1:16-cv-12383-|T Notice has been electronically mailed to:
A|bert L. Farrah alf@farrah-law.com

Joshua A. Burnett jburnett|aw@comcast.net

Matthew R. Braucher mbraucher@ba-lawgroup.com
l\/|ernaysa Fiivera-Bujosa mernaysa@riverabujosalaw.com

Wendy A. Kap|an wendykaplan@aol.com, admin@wendykaplan.com, briggenslaw@gmail.com, ga|eg|azer@aol.com,
louisfont@ao|.com

Wi||iam J. Amann wamann@ba-|awgroup.com, cshaw@ba-|awgroup.com
1:16-cv-12383-|T Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:yes

E|ectronic document Stamp:

[STAMP dcecfStamp_lD=1029851931 [Date=10/23/2018] [Fi|eNumber=7935029-
O] [73bb39e28061ea912bb7cf22dacd330194e71bGadf7442047861e554b71fc44bc9
82d70d236015f6171dad1d2046207bf69d9d036ff7bd35724862875ba065f5]]

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EXhibit B

Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 4 of 13

i*rorn; Farrah a§ '( a1111_n :o:n
Suh§at:t: Re: Law360 reporter writing about Hashem v. D‘Angeio case
Datc: October 24, 2018 at 11 :35 AM
To: Aaron Leibowitz 1:1:11@»11.

 

 

Mr. Leibowitz, it is my policy not to comment on pending litigation. l would like a copy of your article once it has run. Thank you.
A|bert Farrah

A|bert L. Farrah, Jr.
Farrah & Farrah

321 Coiumbus Avenue
Boston, MA 02116
617-742-7766
Mw,iatran:iairt;com

Direct Line: 617-694-1549
ait@iarrah~iaw.corn

Lawrence Office:
170 Lawrence Street
Lawrenoe, i\/iA 01841
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Pri\/ilegod And Contidentiai Cornmdnication.

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recommending to another party any tax-related matter addressed herein.

i~ii Mr. Farrah,

i am a reporter with loan/360 based in i:`$osion and am writing n story
today about the ongoing iitigaticn invoiving your client Sat)a i~-iashem
and St@phcn if)’Angeio.

'i“oday’s story wilt lead With t»/lr. ii~iashe:n‘s iiiing yesterday demanding
neariy $‘15,000 for attorneys fees plus sanctions i will aiso provide
background on the casa including i\/ir. idashem’s domestic vioience
conviction and the nature of the iam ongoing dispute

l wanted to give you and/or ivir. Hashem a chance to comment for the
siory. ii you would iii<e. Piease let me know by emaii or at
914~960~2739. ivly deadline is around 1 pm.

“i`hani< you,

Aaron i._eil.)owitz

 

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Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 5 of 13

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EXhibit C

Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 7 of 13

Frorn; Aaron Leibowitz aaron§r=,'ii.:»or\.v§ti,z=.i`if1111-1131':?1'1_130111
Stib§oot: Re: Law360 reporter writing about Hashem v. D‘Angelo case
Date: October 25, 2018 at 9:51 AM

'i“o: a§f(€'§"i`arrati~ian.ito:n
Hi Mr. Farrah,
Here is the iink: hitr;)s;!!wnn~r.iaw€%dd.corn/articiesrt03¢191’52

 

Since you will not be able to see the full text without a subscription, below is the text of the articie, so you have it.

Suspended Atty Seeks Sanctions On Ex-
Partner in Fee Fight

Law360 (October 24, 2018, 5:34 Pi\/l EDT) -~ A lawyer suspended from the
i\/iassachusetts bar after being convicted of assaulting his girlfriend said in a court filing
Tuesday that his former partner is refusing to pay him fees for previous work in contempt
of a federal judge’s order.

Saba Hashem, who served a six-month jail term, sued his ex~partner for payments from
personal injury cases and others he worked on previously tie said Stephen D’Angelo has

defied U.S. District Judge indira Taiwani's Oct. 1 judgment awarding him almost $4,000 in
fees.

Hashem is demanding sanctions of $1,000 per day for a total payment of almost $15,000.

“Twenty one days have passed since the court’s order and, in what has become an all
too familiar expression of contempt for the court and other parties, the D’Angeio
defendants have refused to make payment,” the filing says

in June, Judge Talwani also awarded Hashem almost $6,000 in fees, but Hashem said
D’Angeio has refused to make that payment as weii, and has not been cooperative in the
discovery process

“There is no need for another recitation of the D’Angelo defendants continuing disdain for
this process and the court, and no need to explain why the relief sought is appropriate
except to say that piaintiff hereby incorporates by reference the arguments made in his
earlier motions for sanctions against the D’Angelo defendants as it set forth herein,”
Hashem said Tuesday.

D’Angeio, who has offices in Boston, has said Hashem is entitled to reasonable
payments for his work at their former firm, D’Angelo & Hashem LLC, but has argued
Hashem had no standing to bring a suit for breaches of fiduciary duty because he was
suspended from the bar when he filed it.

Hashem pled guilty in 2015 to domestic assault and battery for choking his girlfriend -
who was his former client -- in her apartment He was sentenced to six months in jail and
two years on supervised probation

The i\/iassachusetts Subreme Judiciai Court cleared Hashem to work as a paralegal in

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he remains unlicensed as an attorney

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“l\/lr. Hashem is legally entitled to quantum meruit on cases that he Worked on before his
suspension,” D’Angelc said in a January 2017 motion to dismiss “He is legally and
ethically entitled to nothing more, but that is what he seeks in this lawsuit.”

.Judge Talvvani sent the case to alternative dispute resolution in August, but the parties
could not reach an agreement.

Adding a layer to the litigation is an lntervenor, Jennifer Carrion, a former receptionist at
D’Angelo & Hashem Who says the men owe her $544,000 after a 2011 jury verdict found
that Hashem and the firm were liable for pregnancy discrimination against her. That ruling
was partially upheid by the l\/lassachusetts Appeals Court, with a retaliation claim
dismissed

“Nelther Hashem nor [D’Angelo & Hashem] has paid Carrion a cent,” she said in an April
2017 filing.

Carrion filed a second motion to compel discovery last week after her first one was
denied.

Attorneys for Hashem and D’Angelo declined to comment Wednesday. An attorney for
Carrion could not immediately be reached

Hashem is represented by William Jl Amann, i\/latthew Fi. Braucher and Joshua A.
Burnett of Braucher & Arnann PLLC.

D’Angelo is represented by A|bert L. Farrah Jr. of Farrah & Farrah.

Carrion is represented by Wendy A. Kaplan of the Law Office of Wendy A. Kaplan and
l\/lernaysa Ftivera~Bujosa of Fiivera Bujosa Law PC.

The case is Hashem v. D’Angelo, case number 1:16~cv-12383, in the U.S. District Court
for the District of Massachusetts.

--Editing by Dlpti Coorg.

On Thu, Oct 25, 2018 at 7:27 AM AlbertFarrah <aiii.'®iarrait»law.cr_)rg> wrote:

Hi. Can not open article Could you send directly to me. Thanks. Al Farrah
Sent from my iPhone

On Oct 24, 2018, at 11 137 Al\/l, Aaron Leibowitz <aaro woodcom> wrote:

 

Thanks for your response l‘il be happy to share a link once it‘s up

i?§est,

/\aron

On Wed, Oct 247 2018 at 11 :35 Al\./l Farrah <ail‘(i_‘i:)tarrai”j;jr.§,;i”~r_;o_vr_g>mr wrote:

 

i\/lr. l_eibowitz, it is my policy not to comment on pending litigation i would like a copy ot your artists once it has run. Thank
you Albert i"-"arral'i

 

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A|bert L. Farrah, Jr.
Farrah & Farrah

321 Columbus Avenue
Boston, MA 02116
617-742-7766
w\rt/W.iarratl~iaw.con;t

Direct Line: 617-694-1549
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Lawrence Office:
170 Lawrence Street
Lawrence, MA 01841
978-689-0007

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Case 1:16-cv-12383-|T Document 148-1 Filed 11/01/18 Page 10 of 13

Aaron Leibowitz
Reporter, Boston courts

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Aaron Leibowitz
Reporter, Boston courts

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EXhibit D

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Case 1:16-cv-12383-iT Document 148-1 Filed 11/01/18 Page 13 of 13

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